      Case: 24-40571
Case 6:24-cv-00306-JCB Document:
                        Document 68-2   Page:
                                 64 Filed     1 Date
                                          09/11/24   Filed:
                                                   Page 1 of09/11/2024
                                                             2 PageID #: 952




              United States Court of Appeals
                   for the Fifth Circuit                                  United States Court of Appeals
                                                                                   Fifth Circuit
                                    ____________                                 FILED
                                                                         September 11, 2024
                                      No. 24-40571
                                    ____________                            Lyle W. Cayce
                                                                                 Clerk
     State of Texas; State of Alabama; State of Arkansas;
     State of Florida; State of Georgia; State of Iowa;
     State of Kansas; State of Louisiana; State of Missouri;
     State of North Dakota; State of Ohio; State of South
     Carolina; State of South Dakota; State of Tennessee;
     State of Wyoming; State of Idaho,

                                                                Plaintiffs—Appellees,

                                          versus

     United States Department of Homeland Security;
     Alejandro Mayorkas, in his official capacity as Secretary for DHS;
     Ur Mendoza Jaddou, in her official capacity as Director of USCIS;
     Troy Miller, in his official capacity as the Acting Commissioner of CBP;
     Patrick J. Lechleiter,
     in his official capacity as the Acting Director of ICE;
     Office of Management and Budget; Shalanda Young,
     in her official capacity as the Director of the Office of Management and Budget,

                                                              Defendants—Appellees,

     Oscar Silva Perez; Natalie Taylor; Salvador Doe;
     Justin Doe; Carmen Miranda Zayas;
     Ricardo Ocampo Hernandez; Jessika Ocampo Hernandez;
     Foday Turay; Jaxhiel Turay;
     Genaro Vicencio Palomino; Cindy Siqueiros Maduena;
     Coalition for Humane Immigrant Rights,

                                                               Movants—Appellants.
      Case: 24-40571
Case 6:24-cv-00306-JCB Document:
                        Document 68-2   Page:
                                 64 Filed     2 Date
                                          09/11/24   Filed:
                                                   Page 2 of09/11/2024
                                                             2 PageID #: 953




                      ______________________________

                      Appeal from the United States District Court
                           for the Eastern District of Texas
                                USDC No. 6:24-CV-306
                      ______________________________

                             UNPUBLISHED ORDER
             The administrative panel has expedited the appeal and has established
     a briefing schedule. This merits panel has set oral argument for October 10,
     2024.    The district court has entered an administrative stay, expiring
     September 23, of the defendants’ proposed action and has set a hearing and
     possible trial for September 18.
             Meaning no criticism of the district court’s recognition of the need for
     prompt resolution, this panel must have an opportunity to consider the
     merits briefs, scheduled to be received by September 16, and to hear
     argument on the appeal of the denial of intervention. Accordingly, we
     administratively STAY proceedings in the district court pending a decision
     on the merits or other order of this court. The stay issued by the district court
     will remain in effect pending further order of this court.
             Nothing in this order is to be construed as a comment on the merits of
     the instant appeal, regarding intervention, or on the underlying merits of the
     litigation.


                               Lyle W. Cayce, Clerk
                              United States Court of Appeals
                                    for the Fifth Circuit
                                   /s/ Lyle W. Cayce

                   ENTERED AT THE DIRECTION OF THE COURT




                                                2
